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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Shulruff Dental Inc.
                                      Plaintiff,
v.                                                        Case No.: 1:21−cv−00879
                                                          Honorable Sara L. Ellis
Integrated Charts, Inc., et al.
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, June 22, 2021:


        MINUTE entry before the Honorable Sara L. Ellis: Pursuant to notice of voluntary
dismissal [32] John Does 1−10 are dismissed without prejudice and without costs. Mailed
notice(rj, )




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